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EXHIBIT F
                Case 1:17-cv-04327-LLS-RWL Document 27-6 Filed 06/21/17 Page 2 of 6




From:                                Ditlow, Lindsay F.
Sent:                                Tuesday, June 20, 2017 11:33 AM
To:                                  bguaglardi@adgmlaw.com; Evan Ostrer (eostrer@adgmlaw.com)
Cc:                                  Cousin, Brian S.; Meredith, Mark D.
Subject:                             Dardashtian v. Gitman
Attachments:                         Transfer of CR Stripe Account.pdf; C--ICIS-TempPDFS-
                                     EcorpConfirmationPDFs-20174837552.pdf; Chase Wire 5018259559.pdf


Barry,
 In a good faith effort to comply with Judge Stanton's Order of June 19, 2017, Mr. Gitman has taken the following
actions:

    1. Transferred the Channel Reply Stripe Account (see account notice change attached).
    2. Provided Mr. Dardashtian access to all accounts requested, except for the 2 accounts Mr. Gitman has no
       knowledge of. (See June 19, 2017 Affidavit of David Gitman, Exh. D).
    3. Mr. Gitman has instructed Mr. Farooq to dissolve CR Inc. It is my understanding that Mr. Farooq has started the
       process by ensuring franchise tax filings are in place (see attached), is preparing corporate resolutions and filings
       with the State of Delaware. I will provide you a copy of the dissolution certificate as soon as it becomes
       available.
    4. A transfer of all funds in the CR Inc. bank account to the CSV Bank Account (see attached). Mr. Gitman was
       informed by JP Morgan Chase that there were some pending transactions on the CR Inc. bank account and
       because of that, the account could not be closed yesterday, but once those transactions clear, Mr. Gitman will
       close the account.

Please advise if based on the foregoing, Mr. Gitman is complying with the Court's Order. If there are any additional
steps you believe Mr. Gitman must take to dissolve CR Inc. and comply with Judge Stanton's Order, please promptly
advise as to what those specific items are.

Best regards,
Lindsay


                   Lindsay F. Ditlow

                   D +1 212 398 5782 | US Internal 15782
                   lindsay.ditlow@dentons.com
                   Bio | Website

                   Dentons US LLP

                   大成 Salans FMC SNR Denton McKenna Long

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                        Annual Franchise Tax Report
CHANNELREPLY INC.                                                                         2017
6427452    2017/05/30

100 STERLING PL APT 1                                                           (646)878-9184
BROOKLYN, NY 11217


THE COMPANY CORPORATION                                                               9018442
251 LITTLE FALLS DRIVE
WILMINGTON DE 19808




2017/05/30                COMMON                10,000,000      .0000100000




 DAVID    GITMAN                       100 STERLING PL APT 1                       PRESIDENT
                                       BROOKLYN, NY 11217




DAVID     GITMAN                       100 STERLING PL APT 1
                                       BROOKLYN, NY 11217




DAVID GITMAN                                                   2017/06/20     PRESIDENT
100 STERLING PL APT 1
BROOKLYN, NY 11217 US
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                      Annual Franchise Tax Report
CHANNELREPLY INC.                                                                     2017

6427452   82-173048




                         2017/06/19   2017/06/20




      5,000,000                   $0.00                                      2017/06/20




  $350.00               $0.00         $0.00                  $50.00        $0.00




  $0.00                $400.00                $400.00
6/20/2017                                         Chase Online - 27-6
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   Chase Online

     Review this request — Read and confirm the details for this wire request.
     Click "Wire Activity" to go back on the Activity page.

    Wire Details


    Account Details


  Wire to                                  Cooper Square Ventures(...7345)
  Wire from                                ChannelReply Checkin (...7775)

    Wire Details ­ Sender


  Wire amount                              3454.84 U.S. Dollars (USD)
  Scheduled On                             06/20/2017 at 10:20 AM ET
  Wire date                                06/20/2017
  Message to recipient
  Message/instructions to recipient
  bank
  Memo
  Transaction number                       5018259559
  Fed reference number                     N/A
  Status                                   In Transit
  Submitted by                             Administrator on 6/20/2017 10:20:17 AM
  Last modified by                         Administrator on 6/20/2017 10:20:17 AM
  Approved by                              Not Available

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